                Case 2:18-cv-01543-JLR Document 153 Filed 05/10/19 Page 1 of 3




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                                                      THE HONORABLE JAMES L. ROBART
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 9                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
10                                            AT SEATTLE

11
     BOMBARDIER INC.,                              No. 2:18-cv-1543 RAJ
12
                               Plaintiff,          DEFENDANT MITSUBISHI AIRCRAFT
13                                                 CORPORATION’S NOTICE TO
     v.                                            WITHDRAW ITS PENDING MOTION TO
14                                                 DISMISS FOR FAILURE TO STATE A
     MITSUBISHI AIRCRAFT                           CLAIM (DKT. 126)
15   CORPORATION, MITSUBISHI
     AIRCRAFT CORPORATION AMERICA,
16   INC., et al.,                                 Pending Motion Noted for
                                                   May 3, 2019
17                             Defendants.

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      DEFENDANT MITSUBISHI AIRCRAFT CORPORATION’S                         Perkins Coie LLP
      NOTICE TO WITHDRAW PENDING MOTION                            1201 Third Avenue, Suite 4900
                                                                      Seattle, WA 98101-3099
      (NO. 18-CV-1543 RAJ)                                             Phone: 206.359.8000
     121153-0002/144354409.1                                            Fax: 206.359.9000
                Case 2:18-cv-01543-JLR Document 153 Filed 05/10/19 Page 2 of 3




 1   TO:      Clerk for the U.S. District Court of Western Washington
 2            All Parties and Their Counsel of Record
 3
              PLEASE TAKE NOTICE that Defendant Mitsubishi Aircraft Corporation hereby
 4
     withdraws as moot its pending Motion to Dismiss for Failure to State a Claim pursuant to Fed. R.
 5
     Civ. Proc. 12(b)(6) (Dkt.126) noted on the motion calendar for May 3, 2018.
 6

 7
              RESPECTFULLY SUBMITTED this 10th day of May 2019.
 8

 9                                               s/Mary Z. Gaston
                                                 Jerry A. Riedinger, WSBA No. 25828
10                                               Mack H. Shultz, WSBA No. 27190
                                                 James Sanders, WSBA No. 24565
11                                               Mary Z. Gaston, WSBA No. 27258
                                                 Shylah R. Alfonso, WSBA No. 33138
12                                               Perkins Coie LLP
                                                 1201 Third Avenue, Suite 4900
13                                               Seattle, WA 98101-3099
                                                 Telephone: 206.359.8000
14                                               Facsimile: 206.359.9000
                                                 E-mail: JRiedinger@perkinscoie.com
15                                               E-mail: MShultz@perkinscoie.com
                                                 E-mail: MGaston@perkinscoie.com
16
                                                 Attorneys for Defendant Mitsubishi Aircraft
17                                               Corporation

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      DEFENDANT MITSUBISHI AIRCRAFT CORPORATION’S                             Perkins Coie LLP
      NOTICE TO WITHDRAW PENDING MOTION                                 1201 Third Avenue, Suite 4900
                                                                           Seattle, WA 98101-3099
      (NO. 18-CV-1543 RAJ) – 2                                              Phone: 206.359.8000
     121153-0002/144354409.1                                                 Fax: 206.359.9000
                Case 2:18-cv-01543-JLR Document 153 Filed 05/10/19 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE
 2            I certify under penalty of perjury that on May 10, 2019, I electronically filed the
 3   foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
 4   such filing to the email addresses indicated on the Court’s Electronic Mail Notice List.
 5
              DATED this 10th day of May 2019.
 6

 7
                                                         s/Mary Z. Gaston
 8                                                       Mary Z. Gaston, WSBA No. 27258
                                                         Perkins Coie LLP
 9                                                       1201 Third Avenue, Suite 4900
                                                         Seattle, WA 98101-3099
10                                                       Telephone: 206.359.8000
                                                         Facsimile: 206.359.9000
11                                                       E-mail: mgaston@perkinscoie.com
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      CERTIFICATE OF SERVICE                                                      Perkins Coie LLP
      (NO. 18-CV-1543 RAJ) – 1                                              1201 Third Avenue, Suite 4900
                                                                               Seattle, WA 98101-3099
                                                                                Phone: 206.359.8000
     121153-0002/144354409.1                                                     Fax: 206.359.9000
